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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                  CASE NO. 1:01-cr-00027-MP

YOSVANY BRITO,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 261, Defendant's Motion to Set Aside Forfeiture.

This Court entered an Order, Doc. 295, finding that the Defendant's request was untimely unless

the government had failed to provide Defendant with notice of the forfeiture. The government

was directed to file proof of notice with this Court on or before Monday, February 28, 2005. The

government did not file a response, Doc. 308, until Tuesday, March 15, 2005. The government

sought leave to file out of time and demonstrated excusable neglect. Importantly, the

government attached the necessary proof of notice to Defendant of his forfeiture.

       Accordingly, it is

       ORDERED AND ADJUDGED:

       Defendant's Motion to Set Aside Forfeiture is DENIED.

       DONE AND ORDERED this 20th               day of May, 2005.



                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
